






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00690-CV






Jeannette Stevens, Appellant


v.


Riley D. Stevens, Appellee






FROM THE COUNTY COURT AT LAW NO. 3 OF WILLIAMSON COUNTY

NO. 07-1634-FC3, HONORABLE DONALD HIGGINBOTHAM, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant filed her notice of appeal on December 4, 2009, along with an
affidavit&nbsp;of&nbsp;indigence.  After several delays, the filing of the appellate record was completed on
November&nbsp;9, 2010, making appellant's brief due December 13.  See Tex. R. App. P. 38.6(a).  On
January 11, 2011, we sent appellant notice that her brief was overdue, informing her that if a
response was not filed by January 21, the appeal was subject to dismissal.  See id. R. 42.3(b).  To
date, we have received no response from appellant.  We therefore dismiss the appeal for want of
prosecution.  See id. 

						____________________________________

						David Puryear, Justice

Before Justices Puryear, Pemberton and Rose

Dismissed on for Want of Prosecution

Filed:   March 29, 2011


